                           UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN



        UNITED STATES OF AMERICA

                          v.                                 TELEPHONE CONFERENCE re: [80]
                                                            Defendant’s Motion to Adjourn Sentencing

             ALEXANDER P. BEBRIS                                          Case No. 19-CR-2


HONORABLE WILLIAM C. GRIESBACH presiding                                        Time Called: 11:29 a.m.
Proceeding Held: November 12, 2020                                           Time Concluded: 11:34 a.m.
Deputy Clerk: Cheryl                                                                   Tape: 111220

Appearances:

UNITED STATES OF AMERICA by:                           Daniel R. Humble
ALEXANDER BEBRIS by:                                   Jason D. Luczak
UNITED STATES PROBATION OFFICE:                        Brian Koehler


The defendant is scheduled for sentencing tomorrow.

Mr. Humble states he does not object to the adjournment, however, the request for the adjournment relates to
the recently filed letter. Mr. Humble states that the letter does not affect sentencing.

The Court advises the parties that the court is prepared to hold an in-person hearing. The court has taken
precautions in the courtroom for the safety of the parties.

Mr. Luczak states that the sentencing can move forward as planned tomorrow based on the government’s
position. The request for adjournment was based on the letter. They are comfortable proceeding by video, but
he will consult with Mr. Brebis on how he wants to proceed, in-person or by video. He will notify the clerk if
Mr. Bebris wants to proceed in-person.

The Court denies the motion based on Mr. Luczak’s confirmation that the case can proceed to sentencing as
scheduled.




                Case 1:19-cr-00002-WCG Filed 11/12/20 Page 1 of 1 Document 81
